USCA4 Appeal: 07-4115   Doc: 57   Filed: 06/08/2007   Pg: 1 of 2




                                    Document 1
USCA4 Appeal: 07-4115           Doc: 57             Filed: 06/08/2007             Pg: 2 of 2


                                      UNITED STATES COURT OF APPEALS
                                                    FOR THE FOURTH CIRCUIT
                                          Lewis F. Powell, Jr. United States Courthouse Annex
                                                    1100 E. Main Street, Suite 501
                                                   Richmond, Virginia 23219-3517

    Patricia S. Connor                                  www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                (804) 916-2700




                                                  June 8, 2007

              Sharon Mech-O'Neill
              U. S. DISTRICT COURT
              Room 2D36
              6500 Cherrywood Lane
              Greenbelt, MD 20770


                     Re:     07-4059(L), 07-4060 US v. Paulette Martin
                             8:04-cr-00235-RWT


              Dear Court Reporter:

                   The outstanding transcript for this appeal is now
              currently due to be filed no later than 5/14/07.



                                                                Yours truly,

                                                                PATRICIA S. CONNOR
                                                                      Clerk


                                                                    /s/ Carla A. Allison
                                                                By: ________________________
                                                                     Deputy Clerk

              cc:        Clerk, U. S. District Court
                         Kathy Chiarizia
